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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,

-against-                                                      04-CR-402

YASSIN MUHIDDIN AREF,
and MOHAMMED MOSHARREF HOSSAIN,

                              Defendants.
_________________________________________


                                                ORDER

       The Court will hold a pre-trial conference with the attorneys in this case on August 22, 2006

at 1:00 P.M. at the U.S. Courthouse in Binghamton, New York.

       Further, the Government was previously ordered to provide to Defendants, by June 30, 2006,

transcriptions and translations of those portions of the tapes the Government intends to offer into

evidence in its case-in-chief. This order is supplemented to require the Government to provide to

Defendants by August 11, 2006 translations of any documents written in a language other than

English that the Government intends to offer into evidence in its case-in-chief.

       Prior to the August 22, 2006 pretrial conference, the attorneys shall confer among

themselves and shall attempt to resolve any disputes as to translations of the tapes and documents to

be offered in this case, and shall attempt to agree on transcripts of the tapes.

IT IS SO ORDERED

DATED:August9,2006
